                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


GARY K. THOMAS,                                     )
                                                    )
              Petitioner,                           )
                                                    )
v.                                                  )        1:07-cr-84
                                                    )        1:09-cv-305
                                                    )        Jordan
                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )
              Respondent.                           )


                                   JUDGMENT ORDER


       In accordance with the accompanying Memorandum, the motion to vacate, set aside

or correct sentence pursuant to 28 U.S.C. § 2255 is DENIED as time-barred and this action

is DISMISSED. Should the petitioner give timely notice of an appeal from this decision,

such notice will be treated as an application for a certificate of appealability, which under the

circumstances is DENIED. The court CERTIFIES that any appeal from this action would

not be taken in good faith and would be totally frivolous. Therefore, this court hereby

DENIES the petitioner leave to proceed in forma pauperis on appeal.


       ENTER:
                                                             s/ Leon Jordan
                                                        United States District Judge
ENTERED AS A JUDGMENT
  s/ Patricia L. McNutt
  CLERK OF COURT



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